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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO




UNITED STATES OF AMERICA,

Plaintiff,

v.                                                      CRIMINAL No. 99-322 (PG)

WILKINS MALDONADO-GARCIA,

Defendant.



     MOTION SUBMITTING STIPULATION REGARDING REDUCTION OF SENTENCE
                        UNDER 18 U.S.C. § 3582(c)(2)

TO THE HONORABLE JUAN M. PEREZ-GIMENEZ
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

        COMES NOW Wilkins Maldonado-Garcia, the defendant herein, represented by

the Federal Public Defender for the District of Puerto Rico through the undersigned

attorney, and very respectfully states, alleges and prays as follows:

        1. On November 1, 2007, the United States Sentencing Commission lowered the

offense level for crack cocaine by two levels pursuant to Amendments # 706 and 711. See

USSG. App. C, amends. 706, 711 (Nov. 1, 2007). Said amendment was made retroactive

effective March 3, 2008. See USSG. § 1B1.10.

        2. The authority of the Sentencing Commission to make such amendment

retroactive is found in 28 U.S.C. § 944(u). It is important to note that both decisions of the

Sentencing Commission, to lower the offense levels for crack and to make the amendment

retroactive, are based on the recognition that the 100-to-1 powder/crack ratio resulted in
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over-incarceration and unwarranted sentencing disparities that urgently needed to be

alleviated. USSG, App. C, Amend. 706 (Nov. 1, 2007); see also USSG, Report to

Congress: Cocaine and Federal Sentencing Policy at 10.

      3. The defendant in the present case, Mr. Maldonado, was sentenced on January

8, 2001 by this Honorable Court to a term of imprisonment of 108 months. His sentence

was the result of a conviction for an offense involving crack cocaine and according to the

Pre-Sentence Investigation Report (hereinafter “P.S.R.”), the defendant was subjected to

an adjusted offense level of 29. The P.S.R. further calculated defendant’s Criminal History

Category at III. Accordingly, the imprisonment range dictated by the Sentencing Table was

108 to 135 months imprisonment. The Court sentenced the defendant to the lower end

of the applicable range.

      4. Pursuant to the terms of the Administrative Order issued by the Chief Judge of

this Court in Misc. Case No. 08-31 (JAF), the parties have reached a timely stipulation

regarding defendant’s petition for a reduction of sentence. Said stipulation is included

herein as Exhibit 1 and provides in pertinent part that the parties have agreed to a

sentence of 87 months.

      WHEREFORE, it is respectfully requested that this Honorable Court take notice of

the present motion requesting clarification of judgment and that the same be granted.

      I HEREBY CERTIFY that on this date I electronically filed the present motion with

the Clerk of Court using the CM/ECF system, which will send notification to all parties of

record.




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 RESPECTFULLY SUBMITTED

 In San Juan, Puerto Rico, this 19th day of March, 2008.



                                         JOSEPH C. LAWS, JR .
                                         FEDERAL PUBLIC DEFENDER



                                         S /MELANIE  CARRILLO JIMÉNEZ
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